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       Amendments to the Claims:

       This listing of claims will replace all prior versions, and listings, of claims in the application:

       Listing of Claims:

               1.      (Currently amended) A video game controller charging system for charging at:
       least one a plurality of video game controller controllers using externally supplied power, the
       video game controller charging system comprising:
                       a base;
                       at least one structure on the base for providing physical support to the at least one
       plurality of video game controller controllers while the at least one plurality of video game
       controller is controllers are being charged; and
                      at least one DC port a plurality of DC ports on the base, tRe at least one DC port
       each of the DC ports configured to couple to and provide DC power to a power input port of £
       respective one of the at least one plurality of video game controller controllers,
                      wherein the at least one structure on the base comprises a plurality of docldng
       bays open in a first direction and configured to receive respective ones of the plurality of video
       game controllers from the first direction.


              2.      (Currently amended) The video game controller charging system of claim 1,
       wherein the at least one DC port plurality of DC ports comprises at least one a plurality of male
       mini-USB COflflector connectors.


              3.      (Currently amended) The video game controller charging system of claim 1,
      further comprising:
                      a current detector electrically coupled to the at least one DC port plurality of DC
      ports; and




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                          an indicator electrically coupled to the cunent detector, the indicator configured
       to indicate a charging status of the video game controller charging system.


               4.      (Oliginal) The video game controller charging system of claim 3, wherein the
       indicator comprises at least one LED.


               5.      (Canceled)


              6.      (CUlTentlyamended) The video game controller charging system of claim 1,
       wherein eaefl.-.ef the at least one structure on the base comprises a plurality of pairs of opposite
       surfaces, the pairs configured to align [[one]] respective ones of the at least OBe plurality of video
       game cOBtroller controllers such that the power input [[port]] ports of the [[one]] respective ones
       of the at least aBe plurality of video game cOBtroller couples controllers couple to respective
       [[one]] ones of the at least aBe DC port plurality of DC POltS.


              7.      (Cunentlyamended) The video game controller charging system of claim 6,
      wherein the pairs of opposite surfaces comprise spring-loaded locating buttons configured to
      align the [[one]] respective ones of the at least aBe plurality of video game cOBtroller controllers.


              8.      (Cunentlyamended) The video game controller charging system of claim 1,
      wherein[[: ]]
                      the at least OBe DC port comprises a plurality of DC ports;
                      the at least aBe video game cOBtroller comprises a plurality of video game
      cOBtrollers; Gfld
                      the plurality of DC ports is configured to concurrently couple to and provide the
      DC power to the plurality of video game controllers.




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                                                      Exhibit 5                                        NT000160
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               9.     (Cunentlyamended) The video game controller charging system of claim 1,
       fU1iher comprising an AC-to-DC converter adapted to convert the externally supplied power to
       the DC power provided to the power input [[port]] ports of the at least one respective video game
       controller controllers.


               10.    (Original) The video game controller charging system of claim 9, wherein the
       AC-to-DC converter is in the base.


               11.    (Original) The video game controller charging system of claim 9, wherein the
       AC-to-DC converter is external to the base.


               12.    (Original) The video game controller charging system of claim 9, wherein the
      AC-to-DC converter is adapted to convert an AC voltage in the range of 100 V to 240 V
      conesponding to the externally supplied power into a DC voltage conesponding to the DC
      power.


               13.    (Original) The video game controller charging system of claim 12, wherein the
      DC voltage is DC 5 V.


               14.    (Cunentlyamended) A charging system for at least one charging a plurality of
      accessory tle¥iee devices, each having a power input port, the charging system comprising:
                      a base;
                      at least one a plurality of male mini-USB connector connectors supported by the

      base and each adapted to provide DC power to a respective one of the at least one plurality of
      accessory tle¥iee devices;
                      at least one docking structure defining a plurality of docking bays open in a first
      direction and configured to receive from the first direction and align respective ones of the at




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       least one plurality of accessory 4wtee devices to couple to respective ones of the at least one
       plurality of male mini-USB connector connectors; and
                          a power input for connecting to a power supply, the power input electrically
       coupled to the at least one plurality of male mini-USB connector connectors.


                15.       (Currently amended) The charging system of claim 14, wherein the charging
      system further comprises an AC-to-DC converter electrically coupled between the power input
      and the   at    least one plurality of male mini-USB connector connectors.


                16.       (Original) The charging system of claim 14, wherein the charging system further
      comprises an AC-to-DC converter external to the base and electrically coupled to the power
      input.


                17.       (Currently amended) The charging system of claim 14, further comprising:
                          a current detector electrically coupled to the at least one plurality of male mini-
      USB connector connectors; and
                          an indicator electrically coupled to the current detector, the indicator configured
      to indicate a charging status of the charging system.


                18.       (Original) The charging system of claim 17, wherein the indicator comprises at
      least one LED.


                19-20. (Canceled)


                21.       (Currently amended) A charging system for charging at least one accessory
      device having a power input port, the charging system comprising:




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                       a base comprising at least one recess having at least one electrical contact, the
       base further comprising a power input for connection to a power supply, the power input being
       electrically coupled to the at least one electrical contact; and
                       at least one external adapter comprising a connector configured to couple to the
       power input port of the at least one accessory device, the at least one external adapter further
       comprising at least one electrical lead;
                       wherein the at least one external adapter is mountable on the at least one
       accessory device, and
                       wherein the at least one recess is dimensioned to receive the at least one external
       adapter, the at least one electrical lead of the at least one external adapter contacting the at least
       one electrical contact of the at least one recess when the at least one external adapter is received
       by the at least one recess.


              22.      (Original) The charging system of claim 21, further comprising:
                       a current detector electrically coupled to the at least one electrical contact of the at
       least one recess; and
                       an indicator electrically coupled to the current detector, the indicator adapted to
      indicate a status of the charging system.


              23.      (Original) The charging system of claim 22, wherein the indicator comprises at
      least one LED.


              24.      (Original) The charging system of claim 21, wherein:
                       the at least one external adapter further comprises an angled edge; and
                       the at least one recess comprises an angled comer dimensioned to match the
      angled edge of the at least one external adapter and adapted to orient the at least one external
      adapter with respect to the at least one recess.




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                                                     Exhibit 5                                          NT000163
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               25.     (Original) The charging system of claim 21, wherein:
                       the at least one electrical contact of the at least one recess comprises four
       electrical contacts; and
                       the at least one electrical lead of the at least one external adapter comprises four
       electrical leads.


               26.     (Original) The charging system of claim 21, wherein the connector of the at least
       one external adapter comprises a male mini-USB connector.


               27.     (Original) The charging system of claim 21, further comprising an AC/DC
       converter electrically coupled between the power input of the base and the at least one electrical
       contact of the at least one recess.


               28.     (New) A video game controller charging system for charging a video game
       controller having a power input port, the video game controller charging system comprising:
                       a base comprising a plurality of electrical contacts, the base further comprising a
       power input for connection to a power supply, the power input being electrica]]y coupled to the
       plurality of electrical contacts; and
                       an adapter comprising a connector configured to couple to the power input port of
       the video game controller, the adapter further comprising a plurality of electrical leads,
                       wherein the adapter is mountable on the video game controller, and
                       wherein the base further comprises a docking structure configured to receive the
       video game controller having the adapter mounted thereon such that the plurality of electrical
       leads of the adapter contact the plurality of electrical contacts of the base.


               29.     (New) The video game controller charging system of claim 28, wherein the
       plurality of electrical contacts comprises at least one spling biasing the plurality of electrical
       contacts toward the plurality of electrical leads.


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                                                     Exhibit 5                                          NT000164
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             30.    (New) The video game controller charging system of claim 28, wherein the
       connector comprises a male mini-USB connector.




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       Amendments to the Specification:

       Please replace the title with the following amended title:

       VIDEO GAME CONTROLLER CHARGING SYSTEM HAVING A DOCKING STRUCTURE




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                                                                                                                     PATENT

                    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
               J hereby certify that this correspondence is being electronically filed with the United States Patent and
               Trademark Office on July 8, 2011 at or before 11:59 p.m. Pacific Time under the Rules of
               37 CFR§ 1.8.




      Appl No.                 12/044,295                         Confirmation No. 7006
      Applicant                AmirNavid
      Filed                    March 7, 2008
      Title                    VIDEO GAME CONTROLLER CHARGING SYSTEM HAVING A
                               DOCKING STRUCTURE (as amended)
      TC/AU.                   2858
      Examiner                 Arun C. Williams
      Docket No.               61070IN220
      Customer No.             23363

                                                        AMENDMENT

      Mail Stop Amendment
      Commissioner for Patents                                                                     Post Office Box 7068
      P.O. Box 1450                                                                           Pasadena, CA 91109-7068
      Alexandria, VA 22313-1450                                                                             July 8,2011

      Commissioner:

               In response to the Office action of February 8, 2011, please amend the above-identified
      application as follows:


      Amendments to the Specification begin on page 2 of this paper.


      Amendments to the Claims are reflected in the listing of claims which begins on page 3 of this
      paper.


      Remarks/~rguments begin on page 10 of this paper.




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                                                             Exhibit 5                                                     NT000167
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                                        REMARKS/ARGUMENTS
              Claims 1-27 were pending in the present application at the time of the Office Action.
       Claims 1-4,6-18, and 21-30 are now pending, of which claims 1, 14,21, and 28 are independent.
       Claims 1 and 14 have been amended herein to include some of the subject matter of previous
       claims 5 and 8, and to include some of the matter described in the original specification and
       drawings (see, e.g., paragraphs [0085], [0088], and [0102], and FIGs. 11, 14, and 21). Claim 21
       has been amended to include some of the matter described in the original specification and
       drawings (see, e.g., paragraph [0100], and FIG. 20). Claims 2, 3, 6-9, 15, and 17 have been
       amended for reasons of clarity and antecedent basis. Claims 5, 19, and 20 have been canceled
       without prejudice. Further, new claims 28-30 have been added to include some of the matter
       described in the original specification and drawings (see, e.g., paragraphs [0099], [0100], and
       [0103], and FIGs. 16 and 17). No new matter has been added. Applicant respectfully requests
      reconsideration and allowance of claims 1-4, 6-18, and 21-27, as well as consideration on the
       merits and allowance of new claims 28-30, in view of the amendments and the following
       remarks.


      I.      Specification
              The title of the invention was objected to for allegedly not being descriptive. Applicants
      have amended the title to VIDEO GAME CONTROLLER CHARGING SYSTEM HAVING A
      DOCKING STRUCTURE in response to the objection. Applicants respectfully request that the
      amendment to the title be entered and that the objection be withdrawn.


      II.     Rejection of Claims 1, 6,9,11, and 12 under 35 U.S.C. § 102(b)
              Claims 1,6, 9, 11, and 12 were rejected under § 102(b) as allegedly being anticipated by
      U.S. Patent Application Publication No. 2006/0202660 to Chang (hereinafter "Chang"). This
      rejection is respectfully traversed. Further, Applicant has amended independent claim 1 herein.




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              Independent claim 1, as amended, recites:
                        A video game controller charging system for charging a plurality of video
              game controllers using externally supplied power, the video game controller
              charging system comprising:
                               a base;
                               at least one structure on the base for providing physical support to
              the plurality of video game controllers while the plurality of video game
              controllers are being charged; and
                               a plurality of DC ports on the base, each of the DC ports
              configured to couple to and provide DC power to a power input port of a
              respective one of the plurality of video game controllers,
                               wherein the at least one structure on the base comprises a plurality
              of docking bays open in a first direction and configured to receive respective ones
              of the plurality of video game controllers from the first direction (emphasis
              added).

              Applicant submits that claim 1, as amended, is not anticipated by Chang under 35 U.S.C.
       § 102(b). Chang does not appear to disclose "wherein the at least one structure on the base
       comprises a plurality of docking bays open in a first direction and configured to receive
       respective ones of the plurality of video game controllers from the first direction," as recited in
       Applicant's amended claim 1. Rather, Chang appears to disclose a wireless mouse charger
       including a housing 1 having a single mouse cavity 13 for receiving a wireless mouse therein
       (see Chang, paragraphs [0031] and [0032], and Fig. 3), but does not appear to teach a plurality of
       docking bays open in a first direction and configured to receive respective ones of a plurality of
       video game controllers, as recited in Applicant's amended claim 1.
              Further, claim 1 has been amended to include some of the subject matter of previous
       claim 8, which was rejected under 35 U.S.C. § 103(a) as being unpatentable over Chang and
       further in view of U.S. Patent Application Publication No. 2008/0180060 to Odell et al.



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       (hereinafter "Odell "). Odell appears to disclose a charging element 12 including a ledge 62
       facing a downward direction and having a pair of terminals 60 for electrically contacting
       terminals 34 on a wireless keyboard (see Odell, paragraph [0033], and Fig. 6). Further, Odell
       discloses that the charging element 12 may include a charging platfonn 52 facing an upward
       direction and having a pair of terminals 46 and 47 for charging a second wireless device, such as
       a mouse 80 (see Odell, paragraphs [0037] and [0038], and Figs. 6 and 7A). However, Odell
       appears to teach the ledge 62 and the charging platform 52 facing opposite directions for
       receiving a keyboard and a mouse from the opposite directions, but does not appear to teach or
       suggest a plurality of docking bays open in a first, or same, direction and configured to receive
       respective ones of the plurality of video game controllers from the first, or same, direction.
              At least for the reasons explained above, Applicant respectfully submits that a prima
      facie case of anticipation has not been established with respect to claim 1, as amended, because
       Chang does not disclose each and every limitation of the present claim 1. As such, Applicant
       respectfully requests that the rejection of claim 1 be withdrawn and that this claim be allowed.
              Dependent claims 6, 9, 11, and 12 depend (directly or indirectly) from claim 1. As such,
       these dependent claims incorporate all of the terms and limitations of claim 1 in addition to other
       limitations, which further patentably distinguish these claims over Chang.         For at least the
       reasons set forth above, Applicant submits that these dependent claims are not anticipated by
       Chang. Applicant, therefore, respectfully requests that the rejection of claims 6, 9, 11, and 12 be
       withdrawn and that these claims be allowed.


      III.    Rejection of Claims 2·4, 7, 8,10,13·18, and 21·27 under 35 U.S.C. § 103(a)
              Claims 2 and 14-16 were rejected under 35 U.S.C. § 103(a) as being unpatentable over
      Chang, in view of U.S. Patent Application Publication No. 2007/0278999 to Hsia (hereinafter
       "Hsia"). This rejection is respectfully traversed. Further, Applicant has amended independent
      claims 14 and 19 herein.
              Dependent claim 2 depends directly from claim 1. As such, claim 2 incorporates all of
      the terms and limitations of claim 1 in addition to other limitations, which further patentably


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       distinguish claim 2 over the cited references.         Moreover, Hsia does not appear to cure the
       deficiencies in Chang with respect to claim 1 discussed above. For at least the above reasons,
       Applicant submits that claim 2 is not unpatentable over the cited references.             Therefore,
       Applicant respectfully requests that the rejection of claim 2 be withdrawn and that this claim be
       allowed.
              Independent claim 14, as amended, recites:
                        A charging system for charging a plurality of accessory devices, each
              having a power input port, the charging system comprising:
                               a base;
                               a plurality of male mini-USB connectors supported by the base and
              each adapted to provide DC power to a respective one of the plurality of
              accessory devices;
                               at least one docking structure defining a plurality of docking bays
              open in a first direction and configured to receive from the first direction and
              align respective ones of the plurality of accessory devices to couple to respective
              ones of the plurality of male mini-USB connectors; and
                               a power input for connecting to a power supply, the power input
              electIically coupled to the plurality of male mini-USB connectors (emphasis
              added).

              Applicant submits that claim 14, as amended, is not unpatentable over Chang in view of
      Hsia under 35 U.S.C. § 103(a). Neither Chang nor Hsia, nor the combination thereof, appears to
      teach or suggest "at least one docking structure defining a plurality of docking bays open in a
      first direction and configured to receive from the first direction and align respective ones of the
      plurality of accessory devices to couple to respective ones of the plurality of male mini-USB
      connectors," as recited in Applicant's amended claim 14. Rather, Chang appears to disclose a
      wireless mouse charger including a housing 1 having a single mouse cavity 13 for receiving a
      wireless mouse therein (see Chang, paragraphs (0031) and [0032], and Fig. 3), but does not



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       appear to teach or suggest a plurality of docking bays open in a first direction and configured to
       receive from the first direction and align respective ones of a plurality of accessory devices, as
       recited in Applicant's amended claim 14. Further, Hsia does not appear to teach or suggest at
       least one docking structure defining a plurality of docking bays open in a first direction and
       configured to receive from the first direction and align respective ones of the plurality of
       accessory devices to couple to respective ones of the plurality of male mini-USB connectors.
              Further, claim 14 has been amended to include subject matter similar to that of previous
       claim 8, which was rejected under 35 U.S.C. § 103(a) as being unpatentable over Chang and
       further in view of Odell. As discussed above with respect to claim 1, Odell appears to disclose a
       charging element 12 including a ledge 62 facing a downward direction and having a pair of
       terminals 60 for electrically contacting terminals 34 on a wireless keyboard (see Odell, paragraph
       [0033], and Fig. 6), Further, Odell appears to disclose that the charging element 12 includes a
       charging platform 52 facing an upward direction and having a pair of terminals 46 and 47 for
       charging a mouse 80 (see Odell, paragraphs [0037] and [0038], and Figs. 6 and 7A). However,
       Odell appears to teach the ledge 62 and the charging platform 52 facing opposite directions for
       receiving a keyboard and a mouse from the opposite directions, but does not appear to teach or
       suggest a plurality of docking bays open in a first, or same, direction and configured to receive
       from the first, or same, direction and align respective ones of the plurality of accessory devices to
       couple to respective ones of the plurality of male mini-USB connectors.
              At least for the reasons explained above, Applicant respectfully submits that a prima
      facie case of obviousness has not been established with respect to claim 14, as amended, because
       the cited references do not teach or suggest each and every limitation of the present claim 14. As
       such, Applicant respectfully requests that the rejection of claim 14 be withdrawn and that this
       claim be all owed.
              Dependent claims 15 and 16 depend directly from claim 14. As such, these dependent
       claims incorporate all of the telIDS and limitations of claim 14 in addition to other limitations,
       which further patentably distinguish these claims over the cited references. For at least the
       reasons set fOlth above, Applicant submits that these dependent claims are not unpatentable over


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       the cited references. Applicant, therefore, respectfully requests that the rejection of claims 15
       and 16 be withdrawn and that these claims be allowed.
              Claims 3 and 4 were rejected under 35 U.S.C. § 103(a) as being unpatentable over
       Chang, in view of US. Patent Application Publication No. 2004/0189250 to Nishida (hereinafter
       "Nishida"). This rejection is respectfully traversed.
              Dependent claims 3 and 4 depend (directly or indirectly) from claim 1. As such, these
      dependent claims incorporate all of the terms and limitations of claim 1 in addition to other
      limitations, which further patentably distinguish these claims over the cited references.
      Moreover, Nishida does not appear to cure the deficiencies in Chang with respect to claim 1
      discussed above. For at least the above reasons, Applicant submits that claims 3 and 4 are not
      unpatentable over the cited references.       Therefore, Applicant respectfully requests that the
      rejection of claims 3 and 4 be withdrawn and that these claims be allowed.
              Claim 7 was rejected under 35 US.C. § 103(a) as being unpatentable over Chang, in
      view of US. Patent No. 6,313,604 to Chen (hereinafter "Chen"). This rejection is respectfully
      traversed.
              Dependent claim 7 depends indirectly from claim 1. As such, claim 7 incorporates all of
      the terms and limitations of claim 1 in addition to other limitations, which fUlther patentably
      distinguish claim 7 over the cited references. Moreover, Chen does not appear to cure the
      deficiencies in Chang with respect to claim 1 discussed above. For at least the above reasons,
      Applicant submits that claim 7 is not unpatentable over the cited references.          Therefore,
      Applicant respectfully requests that the rejection of claim 7 be withdrawn and that this claim be
      allowed.
              Claim 8 was rejected under 35 U.S.c. § 103(a) as being unpatentable over Chang and
      further in view of Odell. This rejection is respectfully traversed.
              Dependent claim 8 depends directly from claim 1. As such, claim 8 incorporates all of
      the terms and limitations of claim 1 in addition to other limitations, which further patentably
      distinguish claim 8 over the cited references.      Moreover, Odell does not appear to cure the
      deficiencies in Chang with respect to claim 1, as discussed above. For at least the above reasons,


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                                                   Exhibit 5                                      NT000173
                                                  Page 5-33
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       Applicant submits that claim 8 is not unpatentable over the cited references.               Therefore,
       Applicant respectfully requests that the rejection of claim 8 be withdrawn and that this claim be
       allowed.
               Claim 10 was rejected under 35 U.S.C. § 103(a) as being unpatentable over Chang, in
       view of U.S. Patent No. 5,734,254 to Stephens (hereinafter "Stephens").              This rejection is
       respectfully traversed.
               Dependent claim 10 depends indirectly from claim 1. As such, claim 10 incorporates all
       of the terms and limitations of claim 1 in addition to other limitations, which further patentably
       distinguish claim 10 over the cited references. Moreover, Stephens does not appear to cure the
       deficiencies in Chang with respect to claim 1 discussed above. For at least the above reasons,
       Applicant submits that claim 10 is not unpatentable over the cited references.              Therefore,
       Applicant respectfully requests that the rejection of claim 10 be withdrawn and that this claim be
       allowed.
              Claim 13 was rejected under 35 U.S.C. § 103(a) as being unpatentable over Chang, in
       view of U.S. Patent No. 6,842,356 to Hsu (hereinafter "Hsu     fl
                                                                           ).   This rejection is respectfully
       traversed.
              Dependent claim 13 depends indirectly from claim 1. As such, claim 13 incorporates all
       of the terms and limitations of claim 1 in addition to other limitations, which further patentably
      distinguish claim 13 over the cited references. Moreover, Hsu does not appear to cure the
      deficiencies in Chang with respect to claim 1 discussed above. For at least the above reasons,
      Applicant submits that claim 13 is not unpatentable over the cited references.               Therefore,
      Applicant respectfully requests that the rejection of claim 13 be withdrawn and that this claim be
      allowed.
              Claims 17 and 18 were rejected under 35 U.S.C. § 103(a) as being unpatentable over
      Chang in view of Hsia, and further in view of Nishida. This rejection is respectfully traversed.
              Dependent claims 17 and 18 depend (directly or indirectly) from claim 14. As such,
      these dependent claims incorporate all of the terms and limitations of claim 14 in addition to
      other limitations, which further patentably distinguish these claims over the cited references.


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                                                  Exhibit 5                                            NT000174
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       Moreover, Nishida does not appear to cure the deficiencies in Chang and Hsia with respect to
       claim 14 discussed above. For at least the above reasons, Applicant submits that claims 17 and
       18 are not unpatentable over the cited references. Therefore, Applicant respectfully requests that
       the rejection of claims 17 and 18 be withdrawn and that these claims be allowed.
              Claims 21, 24, and 25 were rejected under 35 U.S.C. § 103(a) as being unpatentable over
                                                                                                    fl
       Chang, in view of U.S. Patent No. 5,594,314 to Hagiuda et al. (hereinafter "Hagiuda               ).   This
       rejection is respectfully traversed. Further, Applicant has amended independent claim 21 herein.
              Independent claim 21, as amended, recites:
                      A charging system for charging at least one accessory device having a
              power input port, the charging system comprising:
                             a base comprising at least one recess having at least one electrical
              contact, the base further comprising a power input for connection to a power
              supply, the power input being electrically coupled to the at least one electrical
              contact; and
                             at least one external adapter comprising a connector configured to
              couple to the power input port of the at least one accessory device, the at least one
              external adapter further comprising at least one electrical lead;
                             wherein the at least one external adapter is mountable on the at
              least one accessory device, and
                             wherein the at least one recess is dimensioned to receive the at
              least one external adapter, the at least one electrical lead of the at least one
              external adapter contacting the at least one electrical contact of the at least one
              recess when the at least one external adapter is received by the at least one recess
              (emphasis added).

              Applicant submits that claim 21, as amended, is not unpatentable over Chang in view of
      Hagiuda under 35 U.S.C. § 103 (a). Neither Chang nor Hagiuda, nor the combination thereof,
      appears to teach or suggest "wherein the at least one external adapter is mountable on the at least



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                                                   Exhibit 5                                              NT000175
                                                  Page 5-35
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       one accessory device," as recited in Applicant's amended claim 21. Chang discloses a wireless
       mouse charger including a housing 1 having a mouse cavity 13 for receiving a wireless mouse
       therein (see Chang, paragraphs [0031] and [0032], and Fig. 3). However, Chang does not appear
       to teach or suggest an external adapter that is mountable on the wireless mouse.           Hagiuda
       discloses a battery discharge adaptor 4 into which a battery 3 can be installed for discharging
       (see Hagiuda, col. 2, lines 31-35, and Fig. 1). However, Hagiuda does not appear to teach or
       suggest the battery discharge adaptor 4 being mountable on an accessory device.              Rather,
       Hagiuda appears to merely teach the battery 3 being inserted into an indentation 97 of the battery
       discharge adaptor 4 and having terminals 104, 106 which establish an electrical connection with
       tenninals 105, 107 of the battery discharge adaptor 4 (see Hagiuda, col. 2, lines 48-54, and Fig.
       1). As such, neither Chang nor Hagiuda, nor the combination thereof appears to teach or suggest
       at least one external adapter that is mountable on at least one accessory device.
              At least for the reasons explained above, Applicant respectfully submits that a prima
      facie case of obviousness has not been established with respect to claim 21, as amended, because
       the cited references do not teach or suggest each and every limitation of the present claim 21. As
       such, Applicant respectfully requests that the rejection of claim 21 be withdrawn and that this
       claim be allowed.
              Dependent claims 24 and 25 depend directly from claim 21. As such, these dependent
       claims incorporate all of the terms and limitations of claim 21 in addition to other limitations,
       which further patentably distinguish these claims over the cited references.        For at least the
      reasons set forth above, Applicant submits that these dependent claims are not unpatentable over
       the cited references. Applicant, therefore, respectfully requests that the rejection of claims 24
       and 25 be withdrawn and that these claims be allowed.
              Claims 22 and 23 were rejected under 35 U.S.C. § l03(a) as being unpatentable over
      Chang in view of Hagiuda, and fmiher in view of Nishida.             This rejection is respectfully
      traversed.
              Dependent claims 22 and 23 depend (directly or indirectly) from claim 21. As such,
      these dependent claims incorporate all of the terms and limitations of claim 21 in addition to


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                                                   Exhibit 5                                        NT000176
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       other limitations, which further patentably distinguish these claims over the cited references.
       Moreover, Nishida does not appear to cure the deficiencies in Chang and Hagiuda with respect to
       claim 21 discussed above. For at least the above reasons, Applicant submits that claims 22 and
       23 are not unpatentable over the cited references. Therefore, Applicant respectfully requests that
       the rejection of claims 22 and 23 be withdrawn and that these claims be allowed.
              Claim 26 was rejected under 35 U.S.c. § 103(a) as being unpatentable over Chang in
       view of Hagiuda, and further in view of Hsia. This rejection is respectfully traversed.
              Dependent claim 26 depends directly from claim 21. As such, claim 26 incorporates all
       of the terms and limitations of claim 21 in addition to other limitations, which further patentably
       distinguish claim 26 over the cited references. Moreover, Hsia does not appear to cure the
       deficiencies in Chang and Hagiuda with respect to claim 21 discussed above. For at least the
       above reasons, Applicant submits that claim 26 is not unpatentable over the cited references.
       Therefore, Applicant respectfully requests that the rejection of claim 26 be withdrawn and that
       this claim be allowed.
              Claim 27 was rejected under 35 U.S.c. § 103(a) as being unpatentable over Chang in
       view of Hagiuda, and further in view of Stephens. This rejection is respectfully traversed.
              Dependent claim 27 depends directly from claim 21. As such, claim 27 incorporates all
       of the terms and limitations of claim 21 in addition to other limitations, which further patentably
       distinguish claim 27 over the cited references. Moreover, Stephens does not appear to cure the
      deficiencies in Chang and Hagiuda with respect to claim 21 discussed above. For at least the
      above reasons, Applicant submits that claim 27 is not unpatentable over the cited references.
      Therefore, Applicant respectfully requests that the rejection of claim 27 be withdrawn and that
      this claim be allowed.




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                                                   Exhibit 5                                         NT000177
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       IV.    New Claims 28-34
              New independent claim 28 recites:
                     A video game controller charging system for charging a video game
             controller having a power input port, the video game controller charging system
             comprising:
                             a base comprising a plurality of electlical contacts, the base further
             comprising a power input for connection to a power supply, the power input being
             electrically coupled to the plurality of electrical contacts; and
                             an adapter complising a connector configured to couple to the
             power input port of the video game controller, the adapter further comprising a
             plurality of electrical leads,
                             wherein the adapter is mountable on the video game controller, and
                             wherein the base further comprises a docking structure configured
             to receive the video game controller having the adapter mounted thereon such that
             the plurality of electrical leads of the adapter contact the plurality of electrical
             contacts of the base (emphasis added).

             Applicant submits that new claim 28 is patentable over the cited references. None of the
      cited references or any combination thereof appears to teach or suggest "wherein the adapter is
      mountable on the video game controller," as recited in Applicant's new claim 28. For example,
      as discussed above with respect to claim 21, Chang discloses a wireless mouse charger including
      a housing 1 having a mouse cavity 13 for receiving a wireless mouse therein (see Chang,
      paragraphs [0031] and [0032], and Fig. 3). However, Chang does not appear to teach or suggest
      an adapter that is mountable on the wireless mouse.          Further, Hagiuda discloses a battery
      discharge adaptor 4 into which a battery 3 can be installed for discharging (see Hagiuda, col. 2,
      lines 31-35, and Fig. 1). However, Hagiuda does not appear to teach or suggest the battery
      discharge adaptor 4 being mountable on a video game controller. Rather, Hagiuda appears to
      merely teach the battery 3 being inserted into an indentation 97 of the battery discharge adaptor 4



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                                                   Exhibit 5                                          NT000178
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       and having terminals 104, 106 which establish an electrical connection with terminals 105, 107
       of the battery discharge adaptor 4 (see Hagiuda, col. 2, lines 48-54, and Fig. 1). Further, none of
       the remaining cited references or any combination thereof appears to teach or suggest an adapter
       that is mountable on a video game controller.
               At least for the reasons explained above, Applicant submits that the cited references do
       not teach or suggest each and every limitation of new claim 28, and respectfully requests that
       new claim 28 be allowed.
               New claims 29 and 30 depend directly from new claim 28. As such, these dependent
       claims incorporate all of the terms and limitations of claim 28 in addition to other limitations,
       which further patentably distinguish these claims over the cited references.      For at least the
       reasons set forth above, Applicant submits that new claims 29 and 30 are patentable over the
       cited references and respectfully requests that these claims be allowed.


       v.      Concluding Remarks
               In view of the foregoing amendments and remarks, Applicant earnestly solicits timely
       issuance of a Notice of Allowance allowing claims 1-4, 6-18, and 21-30.          If there are any
      remaining issues that can be addressed over the telephone, the Examiner is encouraged to call
      Applicant'S attorney at the number listed below.

                                                              Respectfully submitted,
                                                              CHRISTIE, PARKER & HALE, LLP



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                                                   Exhibit 5                                      NT000179
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                                                                                                                                  PATENT

                    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

               J hereby certify that this correspondence is being electronically filed with the United States Patent and
               Trademark Office on January /7, 2012 at or before 11:59 p.m. Pacific Time under the Rules of
               37 CPR § 1.B.                                .............,,\         '"         \ {                    \                              \ "
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                                                                                                         \.

      Appl No.                 12/044,295                         Confinnation No. 7006
      Applicant                AmirNavid
      Filed                    March 7, 2008
      Title                    VIDEO GAME CONTROLLER CHARGING SYSTEM HAVING A
                               DOCKING STRUCTURE
      TClA.D.                  2858
      Examiner                 Arun C. Williams
      Docket No.               61070IN220
      Customer No.             23363

                                              AMENDMENT WITH A RCE

      Mail Stop RCE
      Commissioner for Patents                                                                              Post Office Box 29001
      P.O. Box 1450                                                                                      Glendale, CA 91203-1445
      Alexandria, VA 22313-1450                                                                                   January 17,2012

      Commissioner:

               In response to the Office action of October 17, 2011, please amend the above-identified
      application as follows:


      Amendments to the Claims are reflected in the listing of claims which begin on page 2 of this
      paper.


      Remarks/Arguments begin on page 9 of this paper.




                                                                Exhibit 5                                                             NT000223
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       Amendments to the Claims:

       This listing of claims will replace all prior versions, and listings, of claims in the application:

       Listing of Claims:

               1.      (Currently amended) A video game controller charging system for charging a
       plurality of video game controllers using externally supplied power, the video ganle controller
       charging system comprising:
                       a base;
                      at least one structure on the base for providing physical support to the plurality of
      video game controllers while the plurality of video game controllers are being charged; and
                      a plurality of De ports on the base, each of the DC ports configured to couple to
      and provide DC power to a power input port of a respective one of the plurality of video game
      controllers,
                      wherein the at least one structure on the base comprises a plurality of docking
      bays open in a first direction and configured to receive respective ones of the plurality of video
      game controllers from the lirst   direction~.£D.~

                      wherein the at least one stmcture on the base further comprises a plurality of pairs
      of opposite surfaces, each pair of surfaces defining a respective docking bay of the plurality of
      gg9.KitlE...!?~Y§"JmQ...~~.~h of.tb.~.P.~~..ports being on the base between a respective one of the pairs
      of surfaces.


              2.      (Previously presented) The video game controller charging system of claim i,
      wherein the plurality of DC ports comprises a plurality of male mini-USB connectors.


              3.      (Previously presented) The video game controller charging system of claim 1,
      further comprising;
                      a current detector electricaliy coupled to the plurality of DC ports; and


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                                                      Exhibit 5                                            NT000224
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                      an indicator electrically coupled to the current detector, the indicator conilgured
       to indicate a charging status of the video game controller charging system.


              4.      (Original) The video game controller charging system of claim 3, wherein the
       indicator comprises at least one LED.


              5.      (Canceled)


              6.      (Currently amended) TIle video game controller charging system of claim 1,
       wherein the at least one   ~e··e:H··the·-base·£emprisef}·a·171U1:alitY·B-f pairs   of opposite surfaces;·
       the pairs are configured to align respective ones of the plurality of video game controllers such
       that the power input ports of the respective ones of the plurality of video game controHers couple
      to respective ones of the plurality of De ports.


              7.      (Previously presented) The video game controller charging system of claim 6,
      wherein the pairs of opposite surfaces comprise spring-loaded locating buttons contIgured to
      align the respective ones of the plurality of video game controllers.


              8.      (Previously presented) The video game controller charging system of claim 1,
      wherein the plurality of DC ports is configured to concurrently couple to and provide the DC
      power to the plurality of video game controllers.


              9.      (Previously presented) The video game controller charging system of claim 1,
      further comprising an AC-to-DC converter adapted to convert the externally supplied power to
      the DC power provided to the power input ports ofthe respective video game controllers.


              10.    (Original) The video game controller charging system of claim 9, wherein the
      AC-to-DC converter is in the base.




                                                      Exhibit 5                                           NT000225
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                 11,      (Original) The video ga..'11e controller charging system of claim 9, wherein the
       AC-to-DC converter is extemal to the base.


                 12.      (OriginaJ) The video game controller charging system of cl.aim 9, wherein the
       AC-to-DC converter is adapted to convert an AC voltage in the range of 100 V to 240 V
       corresponding to tIlt: extemally supplied power into a DC voltage corresponding to the DC
       power.


                 13.      (Original) The video game controller charging system of claim 12, wherein the
       DC voltage is DC 5 V.


                14.       (Currently amended) A charging system for charging a plurality of aceessory
       ~ .'Y.jQ~Q_g§:!TI.l;;:__£Q!_ltIQ_Ul;;:I~,   each having a power input port, the charging system comprising:
                          a base;
                          a plurality of male mini-USB connectors supported by the base and each adapted
       to provide DC power to a respective one of the plurality of assessor)' devises video game
       controllers;
                          at least one docking structure defining a plurality of docking bays open in a first
      direction and configured to receive from the first direction and align respective ones of the
      plurality of aeees:ory devices video game controllers to couple to respective ones ofthe plurality
      of male mini-USB connectors; and
                          a power input for com1ecting to a power supply, the power input electrically
      coupled to the plurality of male mini-USB              comlectors~

                          w.h~[~ir!.!h~J!1.Ji2g1ll__Q~,le docki~R2.tLl!9.TI!re   comprises a plurality of pairs of
      subst;:mtially parallel opposite planar surfaces, each pair of surfaces defining a respective
      docking bay of the plurality of docking bays, each of the docking bays being open on opposite
      sides between the respective pair of surfaces.




                                                             Exhibit 5                                               NT000226
                                                            Page 5-43
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               15.     (Previously presented) The charging system of claim 14, wherein the charging
      system further comprises an AC-to-DC converter electrically coupled between the power input
      and the plurality of male mini-USB COlmectors.


               16.     (Original) The charging system of claim 14, wherein the charging system further
      comprises an AC-to-DC converter external to the base and electrically coupled to the power
      input.


               17.     (previously presented) The charging system of claim 14, further comprising:
                       a current detector electrically coupled to the plurality of male mini-USB
      connectors; and
                       <L.,"]   indicator electrically coupled to the current detector, the indicator configured
      to indicate a charging status of the charging system.


               18.     (Original) The charging system of claim 17, wherein the indicator comprises at
      least one LED.


               19-20. (Canceled)


               21.     (Currently amended) A charging system for charging at iea.;;t one acoessory
      de:v4€-e video ganle controller having a power input port, the charging system comprising:
                       a base comprising at least one recess having at least one electrical contact, the
      base further comprising a power input for connection to a pO'wer supply, the power input being
      electrically coupled to the at least one electrical contact; and
                      at least one external adapter comprising a connector configured to couple to the
      power input port of the at least one ace-6SSfH'J--de¥i£.-e video game controller, the at least one
      external adapter further comprising at least one e1ectricallead;



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                                                          Exhibit 5                                         NT000227
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                         wherein the at least one external adapter is mountable removably attachable on
       the at least one ~ video game controller §'Jl~ __9.QJ!tlggr~~J9.__r~m!'!ixu:MJf:!ched on the
       at least one v::.ideo game contrQneLwJM;\rr.1h~ __~L1~§§tgn~_ y'~~~Q_g?-me controlier is in use dming
       9.p.J~r.~~i.Qn_.Q[~__YiQ~Q_glill~, and

                         wherein the at least one recess is dimensioned to receive the at least one 67uernal
       adapter, the at least one electrioallead of the at least one external adapter CB'BtaGting-the--at--least
      ~Gtfi-cal-€B-n-t-aet-B-f.the--at--least--one-feeGSs     ..¥hen the at least one c}ftemal adapter is R!ceived
      by--the-at-least one recess base further ~QmP.x.i.;';'~_§J'!·1.J~!J:~tQ.n~__~bructtlfe defining at least one
      ~Jocking bay (m~njn_!J:_J:Lmt~·Ur~~~jon and configured to receive from the first direction the at least

      pne video game controller having the at least one external adapter attached thereon such that t.."lJ.e
      at least one electrical lead contacts the at least one electrical contact, the at least Ql~__~J;f.U91.W._~
      ~omprising at 15:ast on~_p'_{1iU!.f.~_IJQ_~t~:l,llt!§.Jh:_J?grJ!L~LQP.INsit~_.nlanar surfaces defining the at least

      9ne docking bay, the at least one docking hay being open 011 opposite sides between the at least
      one pair of surfaces.


               22.       (Original) The charging system of claim 21, further comprising:
                        a current detector electrically coupled to the at least one electrical contact of the at
      least one recess; and
                        an indicator electrically coupled to the current detector, the indicator adapted to
      indicate a status of the charging system.


               23.      (Original) The dlarging system of claim 22, wherein the indicator comprises at
      least one LED.


               24.      (Original) The charging system of claim 21, wherein:
                        the at least one external adapter further comprises an angled edge; and




                                                          Exhibit 5                                                  NT000228
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                      the at least one recess comprises an angled corner dimensioned to match the
       angled edge of the at least one extemal adapter and adapted to orient the at least one external
       adapter with respect to the at least one recess.


              25.     (Original) The charging system of claim 21, wherein:
                      the at least one electrical contact of the at least one recess comprises four
       electrical contacts; and
                      the at least one electrical lead of the at least one external adapter comprises four
      electrical leads.


              26.     (Original) The charging system of claim 21, wherein the connector of the at least
      one external adapter comprises a male mini~USB cormector.


              27.     (Original) The charging system of claim 21, further comprising an ACme
      converter electrically coupled between the power input of the base and the at least one electrical
      contact of the at least one recess.


              28.     (Currently amended) A video garne controller cha.rging system for charging a
      video game controller having a power input port, the video game controller charging system
      comprising:
                      a base comprising a plurality of electrical contacts, the base further comprising a
      power input for connection to a power supply, the power input being electrically coupled to the
      plurality of electrical contacts; and
                      an adapter comprising a connector configured to couple to the power input port of
      the video game controller, the adapter further comprising a plurality of electrical leads,
                      wherein the adapter is mountable r.f:l.m.Q.Y.fl:QJ.Y...§:lt~£h§:p.I~ on the video game
      controller and configured to remain attached on the video game controller ."hen the video game
      controller is in use during operation of a video game, and



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                                                       Exhibit 5                                               NT000229
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                       wherein the base further comprises a docking structure configured to receive the
       video game controller having the adapter mettflte4 attached thereon such that the plurality of
       electrical leads of the adapter contact the plurality of electrical contacts ofthe base.


               29.     (Previously presented) The video game controller charging system of claim 28,
       wherein the plurality of electrical contacts comprises at least one spring biasing the plurality of
       electrical contacts toward the plurality of electrical leads.


              30.      (Previously presented) The video game controller charging system of claim 28,
       wherein the connector comprises a male mini-USB connector.




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                                         REMARKS/ARGUMENTS
              Claims 1-4, 6-18, and 21-30 are pending in the present application, of which claims 1, 14,
       21, 8.nd 28 are independent. Claims 1, 14,21, and 28 have been amended herein to include some
       of the matter described in the original speeitlcation and drawings (see, e.g., paragraphs [0083],
       [0085], and [01(0), and FIGs. 11, 17, and 21). Claim 6 has been amended for reasons of clarity
       and antecedent hasis.    No new matter has been added.             Applicant   resp(~ctfuny   requests
       reconsideration and allowance of claims 1-4,6-18, and 21-30 in view oUhe amendments and the
       following remarks.


      Reiection of Claims 1-4, 6~18. and 21-30 under 35 U.S.c. § 103(a)
              Claims 1, 6, 9, 11, and 12 were rejected under § 103(a) as allegedly being unpatentable
      over U.S. Patent Application Publication No. 2006/0202660 to Chang ("Chang") in view ofD.S,
      Patent Application Publication No. 2009/0072784 to Erickson CErickson"). This rejection is
      respectfully traversed. Further, Applicant has amended independent claim 1 herein,
              Independent claim 1, as amended, recites:
                     A video game controller charging system for charging a plurality of video
              game controllers using extemally supplied power, the video game controller
              charging system comprising:
                             a base;
                             at least one structure on the base for providing physical support to
             the plurality of video game controllers while the plurality of video game
             controllers are being charged; and
                            a plurality of DC ports on the base, each of the DC ports
             configured to couple to and provide DC power to a power input port of a
             respective one of the plurality of video game controllers,




                                                     Exhibit 5                                        NT000231
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                                    wherein the at least one structure on the base comprises a plurality
                of docking bays open in a first direction and configured to receive respective ones
                of the plurality of video 2"rune controllers from the first direction. and
                                    wherein the at least one structure on the bas_~fm::!:h~I.9.Q!X,l..P.ri.;iY":?.§:
                12Lll.rl!!jJ.Y__ Qf.p§:ir!?_QfQP.P.Q.~jJ.~..;llJ[fu9.~~L~!~ph pair of surfaces defining a respective
                docking bay of the plurality of docking bays, a.nd each of'L.'1e DC ports being on
                the base between a respective one of the pairs of surfaces (emphasis added).

                Applicant submits that claim 1, as amended, is not unpatentable over the combination of
       Chang and Erickson under 35 U.S.C. § 103 (a). The combination of Chang and Erickson does
       not appear to teach or suggest "wherein the at least one structure on the base comprises a
       plurality of docking bays open in a first direction and configured to reed ve respeeti ve ones of the
       plurality of video game controllers fTom the first direction, and wherein the at least one structure
       on the base further comprises a plurality of pairs of opposite surfaces, each pair of surfaces
       defining a respective docking bay of the plurality of docking bays, and each of the DC ports
      being ol1.__tb~J?5l-.;l.~l?.§lw~~tL~..x.~§'p'~g.tiy'~__Qn..~...Q.L!h~ __p~i.r!?...Q.f.§.!!:If!:J.ces, It as recited in Applicant's
       amended claim 1. Rather, Chang appears to disclose a vv'ireless mouse charger including a
      housing 1 having a single mouse cavity 13 for receiving a wirel.ess mouse therein (see Chang,
      paragraphs [0031 J and [0032], and Fig. 3), but does not appear to teach a plurality of docking
      bays open in a first direction and configured to receive respective ones of a plurality of video
      game controllers, as recited in Applicant's claim 1. Further, Chang appears to disclose first and
      second inner surfaces 11, 12 defining the mouse cavity 13, and a contact set being located on the
      first imler surface (see Chrulg, paragraphs [0032] and [0037], and Fig. 3), but does not appear to
      teach or suggest a DC port being on a base of the housing 1 between the first and second inner
      surfaces 11, 12. Erickson disclose a system 10 for charging two portable devices 12a, 12b which
      are grune controllers (see Erickson, pru'agraph [0031], and Fig. 4A). However, Erickson does not
      appear to teach or suggest a plurality of pairs of opposite surfaces, each pair of surfaces defining
      a respective docking bay of the plurality of docking bays, and each of the DC                            P01tS   being on the



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                                                               Exhibit 5                                                       NT000232
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       base between a respective one of the pairs of smfaces. Rather, Erickson disdoses coupling
       inductors 36a, 36b in recesses 34a, 34b under a base unit shell 42 (see Erickson, paragraph
       [0038], and Fig. 4A). Further, Applicant submits that it would not have been obvious to one of
       ordinary skill in the art to have modified the teachings of Chang to include a structure on the
       base comprising a plurality of docking bays because a user of a v;1reless mouse typically does
       not use more than one mouse at a time and, therefore, would not typically have a need to
      simultaneously charge more than one wireless mouse. A.dditionally, Chang teaches a wireless
      mouse charger having a battery cavity 14 for charging a spare rechargeable battery 92 therein so
      that an inside rechargeable battery of the wireless mouse and the spare rechargeable battery 92
      can be charged simultaneously so that use of the wireless mouse is not intenupted due to lack of
      power (see Chang, paragraphs [0041] and [0045], and Fig. 6).
              At least for the reasons explained above, Applicant respectfully submits that a prima
      facie case of obviousness has not been established with respect to claim 1, as amended, because
      the combination of Chang and Erickson does not teach or suggest each and every limitation of
      amended claim 1. As such, Applicant respectfully requests that the rejection of claim 1 be
      withdrawn and that this claim be allowed.
             Dependent claims 6, 9, 11, and 12 depend (directly orindirectly) from claim 1. As such,
      these dependent claims incorporate all of the terms and limitations of claim 1 in addition to other
      limitations, which further patentably distinguish these claims over the cited references. For at
      least the reasons set forth above, Applicant submits that these dependent claims are patentable
      over the cited references. Applicant, therefore, respectfully requests that the rejection of claims
      6,9, 11, and 12 be withdrawn and that these claims be allowed.
             Claim 2 was rejected under 35 U.S.C. § 103(a) as being unpatentable over Chang, in
      view of Erickson arid further in view of U.S. Patent Application Publication No. 2007/0278999
      to Hsia ("Hsia"). This rejection is respectfully traversed.
             Dependent claim 2 depends directly from claim 1. As such, claim 2 incorporates all of
      the terms and limitations of claim 1 in addition to other limitations, which further patentably
      distinguish claim 2 over the cited references.      Moreover, Hsia does not appear to cure the




                                                   Exhibit 5                                      NT000233
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       detlciencies in Chang and Erickson with respect to claim 1 as discussed above. For at least the
       above reasons, Applicant submits that claim 2 is not unpatentable over the cited references.
       Therefore, Applicant respectfhlly requests that the rejection of claim 2 be v.>ithdrawn and that
       this claim be aHowed.
              Claims 3 and 4 were rejected under 35 U.S.C. § l03(a) as being unpatentable over
       Chang, in view of Erickson and further in view of U.S. Patent Application Publication No.
      2004/0189250 to Nishida ("Nishida"). This rejection is respectfully traversed.
              Dependent claims 3 and 4 depend (directly or indirectly) fI'om claim 1. A.s such, these
      dependent Claims incorporate all of the terms and limitations of claim 1 in addition to other
      limitations, which further patentably distinguish these claims over the cited references.
      Moreover, Nishida does not appear to cure the defic.;iencies in Chang and Erickson with respect
      to claim 1 as discussed above. For at l.ea'>t the above reasons, Applicant submits that claims 3
      and 4 are not unpatentable over the cited references. Therefore, Applicant respectfully requests
      that the rejection of claims 3 and 4 be withdrawn and that these claims be allowed.
              Claim 7 was rejected under 35 U.S.C. § 103(a) as being unpatentable over Chang, in
      view of Erickson and further in view of U.S. Patent No. 6,313,604 to Chen (liChen"). This
      rejection is respectfully traversed.
              Dependent claim 7 depends indirectly from claim L As such, claim 7 incorporates alJ of
      the terms and limitations of claim 1 in addition to other limitations, which further patentably
      distinguish claim 7 over the cited references.      Moreover, Chen does not appear to cure the
      deficiencies in Chang and Erickson with respect to claim 1 as discussed above. For at least the
      above reasons, Applicant submits that claim 7 is not unpatentable over the cited references.
      Therefore, Applicant respectfhlly requests that the rejection of claim 7 be withdrawn and that
      this claim be allowed.
             Claim 8 was rejected under 35 U.S.c. § 103(a) as being      unpatentablt~   over Chang in view
      of Erickson and further in view of U.S. Patent Application Publication No. 2008/0180060 to
      Odell et al. COdell"). This rejection is respectfully traversed.




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                                                   Exhibit 5                                         NT000234
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               Dependent claim 8 depends directly from claim 1. As such, claim 8 incorporates all of
       the terms and limitations of claim 1 in addition to other limitations, which further patentably
       distinguish claim 8 over the cited references.        Moreover, OdeiI does not appear to cure the
       deficiencies in Chang and Erickson with respect to claim 1 as discussed above. For at least the
       above reasons, Applicant submits that claim 8 is not unpatentable over the cited references.
       Therefore, Applicant respectfully requests that the rejection of daim 8 be vvithdrawn and that
       this claim be allowed.
               Claim 10 was rejected under 35 U.S.c, § 103(a) as being lmpatentable over Chang, in
       view of Erickson and further in view of U.S. Patent No. 5,734,254 to Stephens ("Stephens").
       TIns rejection is respectfully traversed.
              Dependent claim 10 depends indirectly from claim 1. As such, claim 10 incorporates all
      of the terms and limitations of claim 1 in addition to other limitations, which further patentably
      distinguish claim 10 over the cited references. Moreover, Stephens does not appear to cure the
      deficiencies in Chang and Erickson with respect to claim 1 as discussed above. For at least the
      above reasons, Applicant submits that claim lOis         110t   unpatentable over the cited references.
      Therefore, Applicant respectfully requests that the rejection of claim 10 be withdraV.'ll and that
      tlUs claim be allowed.
              Claim 13 was rejected under 35 U.S.c, § 103(a) as being unpatentable over Chang, in
      view of Erickson and further in view of US. Patent No. 6,842,356 to Hsu ("Hsu").                  TlUs
      rejection is respectfully traversed.
              Dependent clailn 13 depends indirectly from claim 1. As such, claim 13 incorporates all
      of the terms and limitations of claim 1 in addition to other limitations, which fmther patentably
      distinguish claim 13 over the cited references.        Moreover, Hsu does not appear to cure the
      deficiencies in Chang and Erickson with respect to claim 1 as discussed above. For at least the
      above reasons, Applicant submits that claim 13 is not unpatentable over the cited references.
      Therefore, Applicant respectfully requests that the rejection of claim 13 be withdrawn and that
      this claim be allowed.




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                                                    Exhibit 5                                          NT000235
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              Claims 14-16 were       r~jected   under 35 U.S.C. § 103(a) as being unpatentable over U.S.
       Patent Application Publication No. 2003/0216069 to Huang ("Huang!!), in view of Hsia. This
      rejection is respectfully traversed. Further, Applicant has amended independent claim 14 herein.
              Independent claim 14, as amended, recites:
                      A charging system for charging a plurality of video ganle controllers, each
              having a power input port, the charging system comprising:
                              a base;
                              a plurality of male mini-USB connectors supported by the base and
             each adapted to provide DC power to a respective one of the plurality of video
             game controllers;
                              at least one docking structure defining a plurality of docking bays
             open in a first direction and configured to receive irom the first directiQ!~JJIld
             align respective ones of the plurality 0(Y.:i4y.Q..g~II.I.1~.9.QnlIQH~K!~UQ..9.\?.~pJ~JQ
             !:~§1?~.~!i.Y~9nes   of the plurality of male mini-USB connectors; and
                              a power input for connecting to a power supply, the power input
             electrically coupled to the plurality of male mini-USB connectors,
                              wherein the at least one docking stmcture comprises a plurality of
             pairs of substantially parallel opposite planar surfaces, each pair of surfaces
             defining a respective docking bay of the plurality of docking bays, each of the
             docking bays being open on opposite sides between the respective pair of surfaces
             (emphasis added).

             Applicant submits that claim 14, as amended, is not unpatentable over Huang in view of
      Hsia under 35 U.S.c. § 103(a). Neither Huang nor Hsia, nor the combination thereot: appears to
      teach or suggest a charging system for charging a plurality of video game controllers and
      including "at least one docking structure defining a plurality of docking bays open in a first
      direction and configured to receive from the first direction and align respective ones of the
      plurality of video game controllers" or "wherein the at least one docking structure comprises a



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                                                       Exhibit 5                                        NT000236
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       plurality of pairs of substantially parallel opposite planar surfaces, each pair of surfaces defining
       a respective docking bay of the plurality of docking bays, each of the docking bays being open
       QILQ'p.QQf?H~..~ig~~J2~!~.~rL!h~.J"~~.P.~f!iY~_PAiLQL.flJ:lrf{!£~§.," as recited in Applicant's amended
       claim 14. Rather, Huang appears to disclose a hub and power adapter main lmit 1 having a
      plurality of upward insertion slots 16, 16', 16" for receiving cormection boxes 2 (i.e. USB
      Ethernet receiving box 21, etc.) therein (see Hmmg, paragraphs [0014J and [0016], and Fig. 2),
      but does not appear to teach or suggest a charging system for charging a plurality of video game
      controllers, as recited in Applicant's amended claim 14. Additionally, Huang does not appear to
      teach or suggest at least one docking structure comprising a plurality of pairs of substantially
      parallel opposite planar surfaces, each pair of surfaces det1ning a respective docking bay of the
      plurality of docking bays, each of the docking bays being open on opposite sides between the
                    .
      .r~~p.~.:.~ti.Y.~ .12?i.L9L,!yrfag~§..   Rather, Huang appears to teach the inseltion slots 16, 16', 16" being
      closed on all sides except for a side from which one of the connection boxes 2 is insetted (see
      Huang, Fig. 2). Fu..'1her, Hsia does not appear to teach or suggest at least one docking structure
      defining a plurality of docking bays open in a first direction and configured to receive from the
      first direction and align respective ones of the plurality of video game controllers. Nor does Hsia
      appear to teach or suggest at least one docking stmcture comprising a plurality of pairs of
      substantially parallel opposite planar surfaces, each pair of surfaces defining a respective
      docking bay of the plurality of docking bays, each of the docking bays being open on opposite
      sides between the respective pair of surfaces.
                At least for the reasons explained above, Applicant respectfully submits that a prima
      facie case of obviousness has not been established with respect to claim 14, as amended, because
      neither Huang nor Hsia, nor the combination thereof, appears to teach or suggest each and every
      limitation of the present claim 14. As such, Applicant respectfuHy requests that the rejection of
      claim 14 be withdrawn and that this claim be allowed.
                Dependent claims 15 and 16 depend directly :from claim 14. As such, these dependent
      claims incorporate all of the tenns (I.nd limitations of claim 14 in addition to other limitations,
      which further patentably distinguish these claims over the cited references. For at least the


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       reasons set forth above, Applicant submits that these dependent claims are not unpatentable over
       the cited references. Applicant, therefore, respectfully requests that the rejection of claims 15
       and 16 be withdrawn and that these claims be allowed.
               Claims 17 and 18 were rejected under 35 U.S.C. § 103(a) as being lmpatentable over
       Huang in view of Hsia and ±i.mher in view of Nishida. This rejection is respectfully traversed.
               Dependent claims 17 and 18 depend (directly or indirectly) from claim 14. As such,
       these dependent claims incorporate all of the tenns and limitations of claim 14 in addition to
       other limitations, which further patentably distinguish these claims over the cited references.
      Moreover, Nishida does not appear to cure the deficiencies in Huang and Hsia 'With respect to
      daim 14 as discussed above. For at least the above reasons, Applicant submits that claims 17
      and 18 are not unpatentable over the cited references. Therefore, Applicant respectfuHy requests
      that the rejection of claims 17 and 18 be withdrawn and that these claims be allowed.
               Claims 21, 24, 25, and 28 were rejected lIDder 35 U.S.C. § 103(a) as being lmpatentable
      over Chang, in view of U.S. Patent No. 5,594,314 to Hagiuda et a1. (hereinafter "Hagiuda").
      This   r~iection   is respectfully traversed. Further, Applicant has amended independent claims 21
      and 28 herein.
               Independent claim 21, as amended, recites:
                         A charging system for charging at least one video game controller having
               a power input port, the charging system comprising:
                                a base comprising at least one recess having at least one electrical
               contact, the base further comprising a power input for connection to a power
               supply, the power input being electrically coupled to the at least one electrical
               contact; and
                                at least one external adapter comprising a connector configured to
               couple to the power input port of the at least one video game controller, the at
               least one external adapter further comprising at least one electrical lead;
                                wherein the at least one external adapter is removably attachable
              on the at least one video game controller and configured to remain attached on the


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                                                      Exhibit 5                                        NT000238
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              at least one video gamy"_g_QEtrQtlt;LWbsm__thl,':!__<,l,tJ~_\l$.1.QIl~__:yiQ~Q_g@.1~_~~-mJr.Qn~rj_$.
              in use during operation of a video game, and
                                wherein the base further comprises at least one structure defining
              at least one docking bay open in a first direction and configured to receive from
              the first direction the at least one video game controller having the at least one
              external adapter attached thereon such that the at least one electrical lead contacts
              the at least one electrical contact, the at least one structure comprising at least one
              pair of substantially parallel opposite planar surfaces defining the at least one
              docking bay, the at least one docking bay being open on opposite sides                      bt~tween

              the at least one pair of surfaces (emphasis added).

              Applicant submits that claim 21, as amended, is not unpatentable over Chang in view of
       Hagiuda under 35 (J.S.c. § lO.3(a). Neither Chang nor Fiagiuda, nor the combination thereof,
       appears to teach or suggest "wherein the at least one external adapter is removably attachable on
       the at least one video game controller and configured to remain attached on the at least one video
       game controller when the at least one video game controller is in use during operation of a video
       game," as recited in Applicant's amended claim 21. Chang discloses a wireless mouse charger
       including a hOllsing 1 having a mouse cavity 13 for receiving a wireless mouse therein (see
       Chang, paragraphs [0031] and [0032J, and Fig. 3). However, Chang does not appear to teach or
      suggest an external adapter that is removably attachable on the wireless mouse and configured to
      remain attached on the vlireless mouse when the wireless mouse is in use during operation of a
      video game. Hagiuda discloses a battery discharge adaptor 4 into which a battery 3 can be
      installed for discharging (see Hagiuda, col. 2, lines 31-35, and Fig. 1). However, Hagiuda does
      not appear to teach or suggest the battery discharge adaptor 4 being removably attachable on a
      video game controller and configured to remain attached on the video game controller when the
      video game controller is in use during operation of a video game. Rather, Hagiuda appears to
      teach the battery discharge adaptor 4 having temlinals 105, 107, and the battery 3 being received
      in an indentation 97 of the battery discharge adaptor 4 and having tel111inals 104, 106 which



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                                                          Exhibit 5                                                  NT000239
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       establish an electrical connection with temlinals 105, 107 of the battery discharge adaptor 4 (see
       Hagiuda, col. 2, lines 48-54, and Fig. 1). However, Hagiuda. does not appear to teach or suggest
       the battery discharge adaptor 4 being attachable on a video game controller and configured to
       remain attached on the video game controller when the video game controller is in use during
       operation of a video game. As such, neither Chang nor Hagiuda, nor the combination thereof
       appears to teach or suggest at least one external adapter that is removably attachable on at least
       one video game controller.
              At least for the reasons explained above, Applicant respectfully submits that a prima
      facie case of obviousness has not been established with respect to claim 21, as amended, because
      the cited references do not teach or suggest each and every limitation of the present claim 21. As
      such, Applicant respectfuliy requests that the rejection of claim 21 be withdrawn and that this
      claim be allowed.
              Dependent claims 24 and 25 depend directly from claim 21. As such, these dependent
      claims incorporate all of the terms and limitations of claim 21 in addition to other limitations,
      which further patentably distinguish these claims over the cited references. For at least the
      reasons set torth above, Applicant submits that these dependent claims are not unpatentable over
      the dted references. Applicant, therefore, respectfully requests that the rejection of claims 24
      and 25 be withdrawn and that these claims be allowed.
              Independent claim 28, as amended, recites:
                     A video game controller charging system for charging a video grune
             controller having a power input port, the video game controller chru'ging system
             comprising:
                             a base comprising a plurality of electrical contacts, the base further
             comprising a power input for connection to a power supply, the power input being
             electrically coupled to the plurality of electrical contacts; and
                             an adapter comprising a connector configured to couple to the
             power input port ofthe video game controller, the adapter further comprising a
             plurality of electl'icalleads,


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                                                   Exhibit 5                                          NT000240
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                             wh~'m~inJh~.Jld.gP1S'2Li~LI©X!¥!.Y~hJY.JJ.J1il:9.tw1?1~..Q!1Jh~..y.ig~Q.g?-m.~
              controller and configured to remain attached on the video game controller when
              the video game controller is in use during operation of a video game, and
                             \.vherein the base further comprises a docking structure configured
              to receive the video game controller having the adapter attached thereon such that
              the plurality of electrical leads of the adapter contact the plurality of electrical
              contacts of the base (emphasis added).

              Applicant submits that claim 28, as amended, is not unpatentable over Chang in view of
      Hagiuda under 35 U.S.C. § 103 (a). Neither Chang nor Hagiuda, nor the combination thereof,
      appears to teach or suggest "wherein the adapter is removably attachable on the video game
      controller and comlgured to remain attached on the video game controller when the video game
      controller is in use during operation of a video game," as recited in Applicant's amended claim
      28. For example, as discussed above with respect to claim 21, Chang discloses a wireless mouse
      charger including a housing 1 having a mouse cavity 13 tor receiving a wireless mouse therein
      (see Chang, paragraphs [0031] and [0032], and Fig. 3). However, Chang does not appear to
      teach or suggest an adapter that is removably attachable on the wireless mouse and configured to
      remain attached on the wireless mouse when the wireless rnouse is in use during operation of a
      video ganIC. Further, Hagiuda discloses a battery discharge adaptor 4 into which a battery 3 can
      be installed tor discharging (see Hagiuda, col. 2, lines 31-35, and Fig. 1). However, Hagiuda
      does not appear to teach or suggest the battery discharge adaptor 4 being removably attachable
      on a video game controller and configured to remain attached on the video game controller when
      the video game controller is in use during operation of a video game. Rather, Hagiuda appears to
      teach the battery discharge adaptor 4 having terminals 105, 107, and the battery 3 being received
      in an indentation 97 of the battery discharge adaptor 4 and having temlinals 104, 106 which
      establish an electrical connection with terminals 105, 107 of the battery discharge adaptor 4 (see
      Hagiuda, col. 2, lines 48-54, and Fig. 1). However, Hagiuda does not appear to teach or suggest
      the battery discharge adaptor 4 being attachable on a video game controller and configured to



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       remain attached on the video grune controner when the video game controller is in use during
       operation of a video game.
               At least for the reasons explained above, Applicant respectfully submits that a prima
      facie case of obviousness has not been established with respect to claim 28, as amended, because
       the cited references do not teach or suggest each and every limitation of the present claim 28. As
       such, Applicant respectfully requests that the rejection of claim 28 be withdravm and that this
       claim be allowed.
              Claims 22 and 23 were rejected lmder 35 U.S.C. § l03(a) as being unpatentable over
       Chang in view of Hagiuda and further in view of Nishida.            This rejection is respectfully
       traversed.
              Dependent claims 22 and 23 depend (dIrectly or indirectly) from claim 21. As such,
      these dependent claims incorporate all of the temlS ruld li..>J.litations of claim 21 in addition to
      other limitations, which further patentably distinguish these claims over the cited references.
      Moreover, Nishida does not appear to cure the deficiencies in Chrulg and Hagiuda with respect to
      claim 21 as discussed above. For at least the above reasons, Applicant submits that claims 22
      and 23 are not unpatentable over the cited references. Therefore, Applicant respectfully requests
      that the r~jection of claims 22 and 23 be withdrawn and that these claims be allowed.
              Claims 26 and 30 were rejected under 35 U.S.c. § 103(a) as being unpatentable over
      Chrulg in view of Hagiuda and further in view of Hsia. This rejection is respectfully traversed.
              Dependent claim 26 depends directly from claim 21.          Dependent claim 30 depends
      directly from claim 26. As such, claims 26 and 30 incorporate all of the terms and limitations of
      claims 21 and 28, respectively, in addition to other limitations, which further patentably
      distinguish these dependent claims over the cited references. Moreover, Hsia does not appear to
      cure the deficiencies in Chang and Hagiuda vvith respect to claims 21 and 28 as discussed above.
      For at least the above reasons, Applicant submits that claims 26 and 30 are not unpatentable over
      the cited references. Therefore, Applicant respectfully requests that the rejection of claims 26
      ruld 30 be withdravvIl and that these claims be allowed.




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              Claim 27 was rejected under 35 U.S.C. § l03(a) as being unpatentable over Chang in
       view of Hagiuda and further in view of Stephens. This rejection is respectfully traversed.
              Dependent claim 27 depends directly from claim 21. As such, claim 27 incorporates all
       of the terms and limitations of claim 21 in addition to other limitations, which further patentably
       distinguish claim 27 over the cited references. Moreover, Stephens does not appear to cure the
       deficiencies in Chang and Hagiuda with respect to claim 21 as discussed above. For at least the
       above reasons, Applicant submits that claim 27 is not unpatentable over the cited       ref(~rences.

      Therefore, Applicant respectfully requests that the rejection of claim 27 be withdrawn and that
      this claim be aUovved.
              Claim 29 was     r~iected   under 35 U.S,C. § 103(a) as being unpatentable over Chang, in
      view of Hagiuda and further in view of Chen. This rejection is respectfully traversed.
              Dependent claim 29 depends directly from claim 28. As such, claim 29 incorporates all
      of the terms and limitations of claim 28 in addition to other limitations, which fUrther patentably
      distinguish claim 29 over the cited references.         Moreover, Chen does not appear to cure the
      deficiencies in Chang and Hagiuda with respect to claim 28 as discussed above. For at least the
      above reasons, Applicant submits that claim 29 is not unpatentable over the cited references.
      Therefore, Applicant respectfully requests that the rejection of claim 29 be \>;ithdraWll and that
      this claim be allowed.




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                                                     Exhibit 5                                      NT000243
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      Concluding Remarks
               In view of the foregoing amendments and remarks, Applicant earnestly solicits timely
      issuance of a Notice of Allowance allowing claims 1~4, 6-18, and 21-30.        If there are any
      remaining issues that can be addressed over the telephone, the Examiner is encouraged to call
      Applicant's attorney at the number listed below.

                                                           Respectfully submitted,
                                                           CHRISTIE, PARKER & HALE, LLP



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